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                                        No. 23-10362


                In the United States Court of Appeals
                        for the Fifth Circuit
ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF PRO-LIFE OBSTETRICIANS &
  GYNECOLOGISTS; AMERICAN COLLEGE OF PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL
  ASSOCIATIONS; SHAUN JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                               GEORGE DELGADO, M.D.,
                                                                  Plaintiffs-Appellees
                                             v.
 U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of Food and Drugs;
JANET WOODCOCK, M.D., in her official capacity as Principal Deputy Commissioner, U.S. Food
  and Drug Administration; PATRIZIA CAVAZZONI, M.D., in her official capacity as Director,
Center for Drug Evaluation and Research, U.S. Food and Drug Administration; UNITED STATES
DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA, Secretary, U.S. Department
                               of Health and Human Services,
                                                                  Defendants-Appellants
                                              v.
                               DANCO LABORATORIES, L.L.C.,
                                                                  Intervenor-Appellant

      On Appeal from the United States District Court for the Northern District of Texas,
        Amarillo Division, Case No. 2:22-cv-00223-Z, Judge Matthew J. Kacsmaryk

                 OPENING BRIEF FOR INTERVENOR-APPELLANT
                        DANCO LABORATORIES, LLC

PHILIP KATZ                                    JESSICA L. ELLSWORTH
LYNN W. MEHLER                                 CATHERINE E. STETSON
HOGAN LOVELLS US LLP                           KAITLYN A. GOLDEN
555 Thirteenth Street, N.W.                    DANIELLE DESAULNIERS STEMPEL
Washington, D.C. 20004                         MARLAN GOLDEN
                                               DELIA SCOVILLE
EVA M. SCHIFINI
                                               HOGAN LOVELLS US LLP
HOGAN LOVELLS US LLP
                                               555 Thirteenth Street, N.W.
1999 Avenue of the Stars
                                               Washington, D.C. 20004
Suite 1400
                                               (202) 637-5600
Los Angeles, CA 90067
                                               jessica.ellsworth@hoganlovells.com

                              Counsel for Intervenor-Appellant
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                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.1.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      1.     Plaintiffs-Appellees:

             Alliance for Hippocratic Medicine

             American Association of Pro-Life Obstetricians & Gynecologists

             American College of Pediatricians

             Christian Medical & Dental Associations

             Shaun Jester, D.O.

             Regina Frost-Clark, M.D.

             Tyler Johnson, D.O.

             George Delgado, M.D.

      2.     Counsel for Plaintiffs-Appellees:

             Alliance Defending Freedom

             Erik Christopher Baptist

             Denise Harle

             Erica Steinmiller-Perdomo

             Erin Morrow Hawley

             Julie Marie Blake

             Matthew S. Bowman



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     John J. Bursch

     Morgan Williamson LLP

     Christian D. Stewart

3.   Defendants-Appellants:

     U.S. Food and Drug Administration

     Robert M. Califf, M.D., in his official capacity as Commissioner of
     Food and Drugs, U.S. Food and Drug Administration

     Janet Woodcock, M.D., in her official capacity as Principal Deputy
     Commissioner, U.S. Food and Drug Administration

     Patrizia Cavazzoni, M.D., in her official capacity as Director, Center
     for Drug Evaluation and Research, U.S. Food and Drug
     Administration

     U.S. Department of Health and Human Services

     Xavier Becerra, in his official capacity as Secretary, U.S. Department
     of Health and Human Services

4.   Counsel for Defendants-Appellants:

     U.S. Department of Justice

     Elizabeth B. Prelogar

     Brian M. Boynton

     Leigha Simonton

     Sarah E. Harrington

     Michael S. Raab

     Cynthia A. Barmore

     Noah T. Katzen

     Christopher A. Eiswerth


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     Daniel Schwei

     Emily Brooke Nestler

     Julie Straus Harris

     Kate Talmor

5.   Intervenor-Appellant:

     Danco Laboratories, LLC

     Danco Investors Group, LP (Danco Investors Group, LP is 100%
     owner of Danco Laboratories, LLC)

6.   Counsel for Intervenor-Appellant:

     Hogan Lovells US LLP

     Jessica L. Ellsworth

     Catherine E. Stetson

     Philip Katz

     Lynn W. Mehler

     Kaitlyn A. Golden

     Danielle Desaulniers Stempel

     Marlan Golden

     Delia Scoville

     Eva M. Schifini

     Ryan Brown Attorney at Law

     Ryan Patrick Brown

                                   /s/ Jessica L. Ellsworth
                                   Jessica L. Ellsworth

                                   Counsel for Intervenor-Appellant

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             STATEMENT REGARDING ORAL ARGUMENT

      This case concerns far-reaching issues of nationwide importance.

Accordingly, this Court has scheduled oral argument for May 17, 2023. See ECF

No. 191 at 1; ECF No. 193.




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                                 INTRODUCTION

      The District Court’s unprecedented ruling purports to “stay” FDA’s decision

in 2000 to approve Mifeprex as safe and effective, and FDA’s subsequent actions in

2016 and 2021 modifying the drug’s dosing regimen and use restrictions. No court

has ever “stayed” the longstanding federal approval of a lawfully marketed drug.

Yet the District Court effectively ordered mifepristone off the market—ignoring the

substantial evidence supporting FDA’s decisions—in a case brought by a group of

doctors that neither prescribe the drug nor treat patients seeking medication

abortions.

      To reach its conclusions, the District Court defied longstanding precedent on

Article III standing, timeliness, exhaustion, and administrative procedure. The court

found that Plaintiffs demonstrated injury-in-fact by referencing attenuated chains of

events involving discretionary acts by third-parties and statistical possibilities that

someday, a Plaintiff-physician or some unidentified member of a Plaintiff-

Association might (1) encounter the rare woman who needs surgical intervention

after a medication abortion and seeks care from an emergency room, (2) be required

to provide that intervention despite the protections of federal and state conscience

laws, and (3) feel aggrieved in doing so. The court’s limitations and exhaustion

analyses were equally groundless, bending every settled rule to reach stale,

unexhausted challenges to agency action.



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      On the merits, the non-expert court selectively referenced statistical data and

admittedly second-guessed FDA’s scientific judgments, relying instead on the

court’s own views and materials post-dating the agency’s decisions, such as an

analysis of a small number of anonymous blog posts on an anti-abortion website.

But even the limited preliminary injunction record makes clear that each challenged

FDA action involved careful consideration of available clinical trial data, medical

literature, and real-world experience with the drug.

      The court also concluded that FDA’s 2021 actions violated the 1873

Comstock Act, a criminal statute FDA has no authority to interpret or enforce. And

in finding fault with FDA’s decision to impose use restrictions through “Subpart H”

from 2000-2008, the court disregarded that Mifeprex’s use restrictions since 2008

have instead been governed by FDA’s statutory REMS1 authority—not Subpart H.

      As for the equities:     The court’s relentlessly one-sided narrative never

mentions the millions of women who have benefitted from the availability of

mifepristone or the decidedly non-speculative harms to Danco Laboratories LLC

from forcing its only product off the market. The opinion fails to account for harms

from forcing women into alternative ways of ending a pregnancy or into carrying an

unwanted or unviable pregnancy.        It also ignores the destabilizing harm to



1
 Per 21 U.S.C. § 505-1, FDA may condition approval of a drug on the sponsor
adopting a Risk Evaluation and Mitigation Strategy (REMS).

                                          2
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innovation facing the pharmaceutical industry if courts can override FDA’s

considered view of the scientific evidence, invent new rules for drug approvals, and

throw out drug approvals based on questionable materials never presented to the

agency.

      The court’s mandatory injunction is an unprecedented judicial assault on a

careful regulatory process that has served the public for decades. The injunction

should be vacated.

                        JURISDICTIONAL STATEMENT

      This Court has jurisdiction to review the District Court’s order, which had

“the practical effect of an injunction,” under 28 U.S.C. § 1292(a). ROA.4385 & n.3;

see Abbott v. Perez, 138 S. Ct. 2305, 2319-20 (2018).

                      ISSUE PRESENTED FOR REVIEW

      Whether the District Court erred in issuing a preliminary injunction where

Plaintiffs lack standing and their claims are unreviewable and/or fail on the merits;

Plaintiffs face no impending harm absent an injunction; and Danco and the public

will be irreparably injured by an injunction.

                        STATUTES AND REGULATIONS

      Pertinent statutes and regulations are reprinted in the Addendum.




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                         STATEMENT OF THE CASE

      A.    Factual Background

      In 2000, the Food and Drug Administration (FDA) approved Mifeprex

(mifepristone) as safe and effective for use in combination with misoprostol to

terminate intrauterine pregnancy through 49 days gestation. ROA.600; see 21

U.S.C. § 355; 21 C.F.R. § 314.105. The New Drug Approval (NDA) for Mifeprex,

submitted in 1996, presented extensive data on the drug’s safety and efficacy,

including: data from three clinical trials involving 2,659 women showing

mifepristone was effective, meaning further intervention was not required, for

92.1%-95.5% of women; and safety data from a European post-market database of

over 620,000 women who had taken mifepristone to terminate a pregnancy.

ROA.642-647, 591-598.

      In approving Mifeprex as safe and effective, FDA imposed certain use

restrictions under 21 C.F.R. § 314.520.2 ROA.600-601, 596; see ROA.376 n.93. An

independent review by the U.S. Government Accountability Office (GAO)

confirmed that FDA’s approval and oversight processes for Mifeprex were

consistent with its processes for other drugs with Subpart H use restrictions. GAO,



2
  21 C.F.R. § 314.520 is part of a set of regulations collectively known as Subpart
H, which provides for both imposing use restrictions and accelerating approval for
certain new drugs. FDA invoked Subpart H in its review of mifepristone solely for
the use restrictions. See ROA.596.


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GAO-08-751, FDA: Approval and Oversight of the Drug Mifeprex (Aug. 2008),

https://www.gao.gov/assets/gao-08-751.pdf.

      In 2002, some of the Plaintiffs filed a citizen petition with FDA asserting that

Mifeprex was improperly approved under Subpart H and is not safe and effective as

approved. ROA.354-444. FDA ultimately denied the petition in March 2016,

meticulously documenting and reaffirming that medication abortion is safe and

effective and provides a meaningful therapeutic benefit over surgical abortion for

many patients. ROA.635-667. Plaintiffs could have filed suit to compel FDA to act

on their pending petition at virtually any point during that 14-year period. See 5

U.S.C. § 706(1). They never did.

      In 2007, Congress amended the Food, Drug, and Cosmetic Act (FDCA) to

provide statutory authority for FDA to impose certain restrictions on drugs in the

form of a Risk Evaluation and Mitigation Strategy (REMS) when necessary “to

ensure that the benefits of the drug outweigh the risks of the drug.” 21 U.S.C. § 355-

1(a)(1).   Congress “deemed” drugs previously approved with use restrictions

through Subpart H to have a REMS in effect while the sponsors submitted

supplements to their approved applications to include a REMS. FDA Amends. Act

of 2007, Pub. L. 110-85, §§ 909(b)(1), (3), 121 Stat. 823 (2007); see Identification

of Drug and Biological Products, 73 Fed. Reg. 16313 (Mar. 27, 2008). FDA




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approved Danco’s sNDA with a REMS in June 2011. ROA.672. Mifeprex’s

approval today is governed by FDA’s REMS authority.

      In 2015, Danco submitted a supplemental New Drug Approval (sNDA) to

modify certain aspects of Mifeprex’s indication and dosing regimen, also

implicating the REMS. Among other things, it sought to: (1) lower the mifepristone

dose from 600 mg to 200 mg and increase the misoprostol dose from 400 mcg to

800 mcg, to be administered in the cheek pouch for slower absorption; (2) extend

the approved gestational age from 49 to 70 days; (3) allow administration of

misoprostol at home; (4) allow follow up other than through an in-clinic

appointment; and (5) allow prescribing by certified healthcare providers licensed

under state law.   Danco submitted extensive data reflecting fifteen years of

experience with the drug and more than twenty clinical studies addressing various

changes sought in the sNDA. ROA.689-696, 703-715, 2170-2174.

      In reviewing the proposed dosing regimen and gestational age changes, FDA

compiled a summary of relevant U.S. clinical studies involving 16,794 patients:




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ROA.2171.

      It similarly compiled a summary of non-U.S. studies involving 18,425

patients:




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ROA.2172-2173.

      As an FDA reviewer explained, the success rates for medication abortion in

these studies were “97.4% (US) and 96.1% (non-US),” which “strongly support the




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proposed new dosing regimen and the extension of the acceptable gestational age.”

ROA.2173.

      FDA also carefully analyzed the literature for information about adverse

events. One study that found only “29 women of 13,221 (0.1%) undergoing medical

abortion experienced a major complication,” meaning “emergency department

presentation, hospitalization, infection, perforation and hemorrhage requiring

transfusion;” another found only 4 of 1,172 patients (0.3%) prescribed a medication

abortion through telemedicine required a blood transfusion, compared to 0.1% of

2,384 in-person patients; and a third found tiny numbers (0-0.5%) of

hospitalizations, serious infections, or blood transfusions through 70 days gestation.

ROA.2198. These (and others) showed serious adverse events from the proposed

regimen were “rare,” “generally far below 1.0% for any individual adverse event.”

ROA.2198; see also ROA.2198-2199 (discussing study demonstrating “no higher”

incidence of “[s]erious fatal or nonfatal adverse events in the 64-70 days gestation

group” and concluding “[b]ased on the available safety data on medical abortion in

totality, it appears that serious fatal or nonfatal adverse events are very rare through

70 days”).

      FDA also “comprehensive[ly] review[ed]” “adverse events associated with

Mifeprex from September 28, 2000 through November 17, 2015.” ROA.2224. For

that 15-year period, providers were required to report all serious adverse events


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associated with Mifeprex. ROA.2150. As the following table summarizing this data

shows, of the more than 2.5 million women who had taken mifepristone, fewer than

one-tenth of one percent experienced any adverse event; far fewer experienced the

other listed adverse events; and only 878 women out of the more than 2.5 million

who had taken mifepristone—0.035%—were hospitalized.




ROA.2225-2226. From all these data and more, the FDA reviewer concluded that

the proposed changes would not unacceptably increase “the numbers of



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hospitalizations, severe infections, blood loss requiring transfusion and ectopic

pregnancy” occurrences. ROA.2226.

      FDA approved these changes in 2016. ROA.689-696. GAO again found this

approval process followed FDA’s standard procedures. See GAO, GAO-18-292,

FDA: Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts

(Mar. 2018), https://www.gao.gov/assets/gao-18-292.pdf.

      In 2019, FDA approved a generic version of mifepristone. Also in 2019, some

of the Plaintiffs filed a citizen petition asking FDA to rescind certain of the 2016

changes and to “retain the Mifeprex [REMS]” that had been in place since 2011.

ROA.741. The 2019 petition did not ask FDA to rescind Mifeprex’s 2000 approval.

      In April 2021, FDA announced it would temporarily exercise enforcement

discretion with respect to in-person dispensing during the COVID-19 pandemic.

ROA.787-788.     FDA’s decision was based on medical literature relevant to

modifying this requirement, postmarketing adverse events from earlier in the

pandemic, and available information about deviations or noncompliance events

associated with the REMS. ROA.787-788; see also ROA.827-829.

      In December 2021, FDA largely denied the 2019 citizen petition.             It

thoroughly explained its decision to keep the 2016 REMS in place and to continue

exercising enforcement discretion with respect to the in-person dispensing




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requirement. See ROA.803-842. FDA granted the 2019 petition insofar as it asked

FDA to “retain” the Mifeprex REMS, rather than remove them entirely. ROA.826.

      On January 3, 2023, FDA approved a June 2022 sNDA to modify the

mifepristone REMS and lift the in-person dispensing requirement. Plaintiffs did not

amend their complaint or otherwise challenge this approval.

      B.     Procedural History

      1. In November 2022, Plaintiffs filed suit under the Administrative Procedure

Act (APA) challenging FDA’s 2000 Mifeprex approval, 2002 citizen petition denial,

2016 REMS changes, 2019 generic approval, 2021 citizen petition denial, and 2021

non-enforcement decision.        Plaintiffs moved for a preliminary injunction.

ROA.1027-1031.       Danco intervened.      In opposing Plaintiffs’ motion, Danco

identified several fundamental threshold problems, including standing, timeliness,

and administrative exhaustion. On the merits, Danco explained that all of FDA’s

challenged actions were supported by meticulous reasoning and rafts of data. Danco

also explained that Plaintiffs’ contentions of irreparable harm absent an injunction

rang false, given Plaintiffs’ leisurely approach to bringing suit.

      All parties supported the District Court considering the full administrative

record before reaching a decision on the merits. ROA.3240-3252, 3588-3596, 3801-

3811. Instead, the court opted to rely on the preliminary injunction record alone,

ROA.4192, and granted Plaintiffs’ request for preliminary relief. ROA.4373.



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      The District Court first concluded Plaintiffs had standing, could surmount a

number of reviewability issues, and were likely to prevail on the merits. The court

found standing because (1) adverse events from medication abortion can

“overwhelm the medical system,” place “pressure and stress” on doctors, prevent

Plaintiffs “from practicing evidence-based medicine,” and increase risks of

malpractice allegations; (2) third-party standing applied; and (3) the Plaintiff-

Associations had suffered a “diversionary injury.” ROA.4313-4319 (quotation

marks omitted).

      On statute of limitations, the court excused Plaintiffs’ decision to file suit eight

months after the six-year limitations period expired on the basis that FDA had taken

too long to respond to the 2002 citizen petition—even though the limitations period

did not start until FDA did respond. The court similarly excused exhaustion for

several of Plaintiffs’ claims. ROA.4333-4334, 4336-4337. And the court seized

upon one reference to a “full review” of the REMS, ROA.808, to opine that FDA

must have “reopened” in 2021 the question whether to withdraw mifepristone’s 2000

approval. ROA.4328-4329.

      On the merits, the court disagreed with FDA’s use of Subpart H in approving

mifepristone, and held FDA’s subsequent actions arbitrary and capricious.

ROA.4355-4366.       The court largely failed to engage with FDA’s actual

decisionmaking, instead relying on materials post-dating the agency’s decisions and


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the court’s own research. The court also invoked the Comstock Act as a reason to

enjoin FDA’s 2021 non-enforcement decision. ROA.4338-4344.

       On irreparable harm, the court held that “time” treating patients and “mental

and monetary costs” for doctors was irreparable. ROA.4367 (quotation omitted).

As for the balance-of-harms and public-interest factors, the court ignored the vast

majority of women for whom medication abortion has been, and will continue to be,

a complete and medically appropriate treatment, as well as the concrete and

irreparable financial harm to Danco from ordering its only product removed from

the market.

       Finally, the court purported to “stay” FDA’s 2000 approval of Mifeprex,

characterizing its decision upending 23 years of FDA approval as just maintaining

the status quo. ROA.4370-4373. The court ignored both the heightened mandatory

injunction standard and the possibility of remand without vacatur even in the event

Plaintiffs prevailed on the merits.

       2. Danco and the Government sought a stay pending appeal. ECF Nos. 20,

22.3   Plaintiffs opposed and sought dismissal of the appeals on jurisdictional

grounds. ECF No. 98.




3
 Unless otherwise specified, ECF references are to this Fifth Circuit docket, No. 23-
10362. ECF page numbers reference the ECF header.

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      This Court denied Plaintiffs’ motion to dismiss, ROA.4385 n.3, and partially

stayed the District Court’s order.4 The panel majority stayed the injunction as to

FDA’s 2000 approval, agreeing that Plaintiffs’ challenge was likely untimely.

ROA.4379-4419.       It left the injunction in effect as to FDA’s 2016 REMS

modifications and 2021 non-enforcement decision. ROA.4419.

      Danco and the Government applied to the Supreme Court for a stay. The

Supreme Court granted those applications on April 21, 2023. Order, Danco Labs.

v. All. for Hippocratic Med., No. 22A901 (U.S. Apr. 21, 2023). Only two Justices

noted disagreement with granting the stay applications. Id.

                          SUMMARY OF ARGUMENT

      I. The District Court erred on multiple grounds in holding that Plaintiffs were

likely to succeed on the merits.       Plaintiffs lack individual, associational, or

organizational standing to challenge FDA’s approvals of a drug they do not prescribe

that is the standard of care for patients seeking a medical procedure they do not

provide.   No Plaintiff faces a “certainly impending” cognizable injury fairly

traceable to any challenged FDA action, and no Plaintiff-Association has changed

its anti-abortion activities on account of any challenged actions.




4
  Judge Haynes concurred only in expediting the appeals and denying the motion to
dismiss. She would have granted an administrative stay and deferred whether to stay
the District Court’s order to the merits panel. ROA.4379 n.*.

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      Plaintiffs’ challenge to FDA’s 2000 approval is time-barred, as the stay panel

rightly concluded. The six-year clock to challenge FDA’s March 2016 denial of

their citizen petition expired eight months before they filed suit. And Plaintiffs failed

to exhaust certain of their claims to boot.

      Beyond these several fundamental threshold deficiencies, Plaintiffs’

substantive arguments run headlong into black-letter APA law prohibiting courts

from invoking their own views rather than reviewing whether FDA reasonably

exercised its expert judgment and whether substantial evidence supports FDA’s

finding of safety and efficacy. Their Subpart H argument has no legal consequence

today and is wrong in any event. And their unexhausted Comstock Act-based

challenge ignores the scope and limits of FDA’s statutory mandate.

      II. The District Court’s analysis of the equities was also flawed. The court

entirely failed to acknowledge the harm to Danco from blocking its only product

from the market. The District Court also failed to weigh the harms to the many

women who rely on mifepristone, including the overwhelming majority of women

for whom medication abortion is a complete treatment. On top of that, enjoining a

longstanding drug approval based on judicial second-guessing of FDA’s scientific

expertise will destabilize the pharmaceutical industry; impose high costs on the

healthcare system, including by limiting provider availability for other patient care;

negatively impact providers, cities, and states; and raise separation-of-powers


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concerns. No Plaintiff, by contrast, faces irreparable harm absent an injunction. If

the rare possibility arises in which a woman, after a medication abortion, requires

follow-up care and seeks it from a facility where one of the Plaintiff-physicians

works, federal and state conscience laws protect Plaintiffs’ rights not to provide

surgical abortion care.

                            STANDARD OF REVIEW

      A preliminary injunction is “an extraordinary remedy” that requires a moving

party to “clearly” show: “(1) a substantial likelihood of success on the merits,”

(2) irreparable injury absent an injunction, (3) “that the injury outweighs any harm

to” other parties, and (4) that “the injunction will not disserve the public interest.”

CAE Integrated, L.L.C. v. Moov Techs., 44 F.4th 257, 261 (5th Cir. 2022). That

burden increases when the preliminary injunction is mandatory: A mandatory

injunction changing the status quo “is particularly disfavored, and should not be

issued unless the facts and law clearly favor the moving party.” Martinez v.

Mathews, 544 F.2d 1233, 1243 (5th Cir. 1976). Although the ultimate grant of a

preliminary injunction is reviewed for abuse of discretion, “a decision grounded in

erroneous legal principles is reviewed de novo.” Byrum v. Landreth, 566 F.3d 442,

445 (5th Cir. 2009) (quotation omitted).

      Courts review agency action under the APA using the familiar arbitrary-and-

capricious standard. To survive this “narrow and highly deferential” standard,



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Huawei Techs. USA v. F.C.C., 2 F.4th 421, 449 (5th Cir. 2021) (quotation omitted),

the agency’s actions need only be “reasonable and reasonably explained,” F.C.C. v.

Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). The agency’s factual

findings are reviewed for substantial evidence. Buffalo Marine Servs. v. United

States, 663 F.3d 750, 753-754 (5th Cir. 2011). Reviewing courts “may not reweigh

the evidence, try the issues de novo, or substitute [their] judgment for” the agency’s.

Greenspan v. Shalala, 38 F.3d 232, 236 (5th Cir. 1994).

                                     ARGUMENT

I.    THE DISTRICT COURT ERRED IN FINDING PLAINTIFFS LIKELY TO SUCCEED
      ON THE MERITS.

      A.     Plaintiffs’ Standing Arguments Are Based On Statistical
             Possibilities, Depend On Third-Party Discretionary Actions, And
             Flunk Organizational Standing Prerequisites.

      Plaintiffs assert they have standing because some Plaintiff-physician or

Plaintiff-Association member doctor might be asked to treat an unidentified patient

in some emergency room on some unknown future date for a rare complication

stemming from a drug some other provider prescribed, which is the standard of care

for a medical practice no Plaintiff-physician performs.          That daisy-chain of

speculation alleges nowhere close to a “substantial risk” of “certainly impending”

harm. Clapper v. Amnesty Int’l, USA, 568 U.S. 398, 414 n.5 (2013) (quotations

omitted). It is instead “equal parts sweeping and unprecedented.” E.T. v. Paxton,

41 F.4th 709, 722 (5th Cir. 2022).


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      Plaintiffs’ theory, and the District Court’s acceptance of it, cannot be squared

with Supreme Court precedent on injury-in-fact, causation, or redressability. See

Clapper, 568 U.S. at 409; Summers v. Earth Island Inst., 555 U.S. 488, 492-493

(2009); City of Los Angeles v. Lyons, 461 U.S. 95, 101-102 (1983). Supreme Court

precedent also requires organizational plaintiffs to satisfy all the same requirements

as individuals. E.g., Summers, 555 U.S. at 497-498; Havens Realty Corp. v.

Coleman, 455 U.S. 363, 378-379 (1982). And it limits third-party standing to

circumstances in which plaintiffs can show their own standing, Powers v. Ohio, 499

U.S. 400, 410-411 (1991), “a ‘close’ relationship” to the party on whose behalf they

claim to sue, and “a ‘hindrance’ to [that third party’s] ability to protect his own

interests.” Kowalski v. Tesmer, 543 U.S. 125, 130 (2004) (citations omitted).

      Applying these straightforward principles, Plaintiffs cannot establish

standing.

             1.    No individual Plaintiff or member of a Plaintiff-Association
                   faces cognizable future injury fairly traceable to FDA’s
                   challenged actions.

      In TransUnion L.L.C. v. Ramirez, 141 S. Ct. 2190 (2021), the Supreme Court

admonished that Article III requires plaintiffs to “demonstrate standing for each

claim that they press and for each form of relief that they seek,” id. at 2208, by

showing a “sufficiently imminent and substantial” injury, id. at 2210. That means




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Plaintiffs must establish injury-in-fact, causation, and redressability for each FDA

action they challenged. They cannot do so for any of them.

      Ample precedent establishes that Plaintiffs may not access a federal court with

speculative theories of injury. In Clapper, the Supreme Court held that attorneys,

human rights organizations, and media organizations lacked standing because their

theory of injury—that their communications with clients and contacts would be

intercepted by the Government—“rel[ied] on a highly attenuated chain of

possibilities” and “speculation about ‘the unfettered choices made by independent

actors not before the court.’” 568 U.S. at 410, 414 n.5 (quoting Lujan v. Defenders

of Wildlife, 504 U.S. 555, 562 (1992)). An “objectively reasonable likelihood” that

plaintiffs might be harmed in the future was not enough. Id. at 410. The Court held

that plaintiffs seeking injunctive relief must demonstrate “th[e] threatened injury”

they allege is “certainly impending.” Id. at 409 (quotations omitted). Likewise, in

Summers, the Supreme Court held environmental organizations lacked standing to

challenge regulations that “neither require[d] nor forb[ade] any action on the part of

respondents,” 555 U.S. at 493, and that showing past harm to a few organization

members was insufficient for injunctive relief, even when coupled with “a statistical

probability that some [members] are threatened with concrete injury.” Id. at 495;

accord, e.g., E.T., 41 F.4th at 715.




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      These cases doom Plaintiffs’ claims.          Plaintiffs have not identified any

“certainly impending” future injury arising out of FDA’s 2000 approval, or the 2016

or 2021 changes. The individual Plaintiff-physicians oppose abortion. They do not

prescribe medication abortion, consult on elective abortions, or perform surgical

abortions as part of their regular practice. Nor are they required to do so by any

FDA action challenged in this case or by any other federal law. No Plaintiff-

physician seeks to treat patients who have had medication abortions—the opposite

appears to be true. In the world of physicians who could or would possibly treat a

woman for any medical reason associated with a medication abortion, these doctors

are among the very last to be considered.

      Neither Plaintiffs nor the District Court dispute any of this. Instead, Plaintiffs’

theorize that some other provider will prescribe mifepristone to a patient who wants

a medication abortion; that patient will experience a rare incomplete abortion, an

even rarer “complication,” or a yet-rarer-still serious adverse event; instead of

seeking follow-up care with their provider (or at that provider’s practice), the patient

will go to the emergency room; a Plaintiff-physician will be on staff; and that

Plaintiff-physician will be required to treat that patient, despite federal and state laws

that protect a doctor’s right to decline to provide medical services to which they have

a conscience objection. See, e.g., 42 U.S.C. §§ 238n, 300a-7(c) & 7(d); Consolidated

Appropriations Act 2022, Pub. L. No. 117-103, tit. V, §§ 506-507, 136 Stat. 49;


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Nadia N. Sawicki, Protections from Civil Liability in State Abortion Conscience

Laws, 322 JAMA 1918, 1918 (2019); Tex. Occ. Code Ann. § 103.001 (1999) (“A

physician … who objects to directly or indirectly performing or participating in an

abortion procedure may not be required to directly or indirectly perform or

participate in the procedure.”).

      That highly speculative chain of events depends heavily on the actions of

third-parties—just like the standing theories rejected in Clapper and Lujan. The

District Court did not even attempt to apply these precedents, or others like them, to

Plaintiffs’ claims. ROA.4313-4314 (citing one unpublished case in discussing

individual injury). Instead, the District Court invented a new standing superdoctrine

just for doctors. And the stay panel, for its part, engaged in some statistical wizardry

to find standing where none exists.

      The new “doctor standing” superdoctrine. The District Court transformed

the daily realities of medical work in an emergency room into an Article III injury.

ROA.4313. A doctor’s job is to treat patients—which may involve “‘pressure and

stress,’” or require “‘time and attention.’” ROA.4313 (quoting ROA.1048). Those

demands are not cognizable injuries: They are facts of the medical profession,

especially in emergency rooms. If doctors could sue any time their workload or

stress increased because they treated a patient, they would have Article III standing

to challenge any product, activity, or regulation that caused someone to seek


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treatment from them—from handguns to pollution to cars. The “limitlessness” of

that theory illustrates why it is not the law. E.T., 41 F.4th at 721-722 (rejecting

similarly unbounded standing theory).

      The emotional discomfort associated with providing voluntary medical care

to a person with whom a physician has a moral, ethical, or religious disagreement is

likewise not an Article III injury.     ROA.4313-4314.       FDA does not mandate

Plaintiffs prescribe mifepristone to anyone, or that Plaintiffs treat patients who have

requested and been prescribed mifepristone by others. ROA.1748. Nor could it.

See supra pp. 21-22 (citing conscience statutes). Where, as here, “FDA is not

forcing” a doctor to administer a particular treatment, or “forcing any patient to

receive such” treatment, the fact that FDA permits another doctor to prescribe a

treatment to patients who seek it does not create standing for one who finds the

treatment objectionable. Coal. for Mercury-Free Drugs v. Sebelius, 671 F.3d 1275,

1281 (D.C. Cir. 2012) (Kavanaugh, J.).5

      Nor has any Plaintiff personally suffered past harm on those bases, or any

other. The District Court and stay panel rewrote what declarants said “may,”

“could,” or “might” happen into conclusions that such things did happen, compare

ROA.4313-4314 (“These emergencies force doctors into situations ‘in which they



5
 Plaintiffs’ asserted fear of increased medical liability is equally groundless. No
declarant provided any facts about increased liability.

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feel complicit in the elective chemical abortion’” (citation omitted)), with, e.g.,

ROA.282 (FDA’s actions “could force me to have to [perform an abortion]”

(emphasis added)); misquoted declarations to attribute surgical abortions performed

by other doctors to an individual Plaintiff, compare ROA.4390, with ROA.268-269

(colleague performed abortion)6; ROA.278 (no statement that Plaintiff performed

surgical abortion for any patient); ROA.279 (“the doctors”—not Plaintiff—

“finish[ed] the abortion”); and cited declarations not asserting a conscience injury,

compare ROA.4391-4392, with ROA.957-962 (no conscience injury); ROA.279 (no

assertion declarant had to perform procedure against her will). Plaintiffs also failed

to link any purported past injury to the 2016 and 2021 changes, or even identify if

the events happened before or after those changes. E.g., ROA.268, 277-279.

      Moreover, under Clapper, a plaintiff must do more than demonstrate an

“objectively reasonable likelihood” of future harm to satisfy “the well-established

… ‘certainly impending’ requirement.” 568 U.S. at 401 (quotation omitted). Where

a statute “at most authorizes—but does not mandate or direct”—a particular action,

alleging harm from an independent actor’s discretionary decision is “necessarily

conjectural.” Id. at 412; accord E.T., 41 F.4th at 721.




6
 Indeed, most circumstances described involve care that was provided by other
doctors, not declarants. E.g., ROA.269, 279.

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       The District Court purported to “distinguish” Clapper’s future-injury

requirement on the basis that Plaintiffs demonstrated past harm. ROA.4320. They

did not, see supra pp. 23-24, but in any event, past incidents are no substitute for

personal, concrete, impending future injury to a specific plaintiff. Summers, 555

U.S. at 495; Lyons, 461 U.S. at 103. Plaintiff-physicians’ statements that they—or

someone they know—previously treated a woman for medication-abortion-related

complications cannot excuse their failure to show a sufficiently imminent, non-

speculative personal risk of future harm. See Clapper, 568 U.S. at 409.

       The stay panel’s unsupportable statistical analysis.            The stay panel’s

different—but equally flawed—reasoning in analyzing Plaintiffs’ future injury from

FDA’s 2016 and 2021 actions underscores the impropriety of basing standing on

statistical possibilities.

       The panel reasoned that because the Mifeprex label says treatment may be

“unsuccessful” in 2-7% of women, ROA.4389, the 5 million women who have used

mifepristone over the past 23 years may have included up to 350,000 women who

needed additional care to terminate their pregnancy.

       That breezy math doesn’t add up to standing. First, this calculation bears no

connection to how many women have sought emergency room care as opposed to a

follow-up surgical abortion with their provider, or an additional dose of misoprostol.

The stay panel misread the Patient Agreement form to say that patients “must …


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seek ‘emergency care,’” ROA.4390, but the form actually directs patients to confer

with the prescribing “healthcare provider,” ROA.4389. And the data belies any

assumption that women exclusively seek emergency care: In 15 years of mandatory

provider reporting, only 878 out of more than 2.5 million women were hospitalized

(0.035%). ROA.2225; see ROA.715.

      The stay panel’s calculation also bears no causal connection to FDA’s 2016

or 2021 actions. The standing question at issue with respect to Plaintiffs’ claims as

to those actions is whether any Plaintiff-physician imminently faces being forced to

provide a surgical abortion because of those FDA actions. There was no such

showing, and the panel reached no such conclusion.

      Second, the small percentage of women who have experienced an incomplete

treatment in no way links up to any Plaintiff-physician: Taking the panel’s high-end

number (350,000) at face value, dividing it across 23 years, and the number of U.S.

emergency rooms (roughly 6,000) and urgent care centers (roughly 9,000), means

each facility treated approximately one woman per year—and only assuming not one

patient returned to the clinic or provider who prescribed the medication initially.




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Whatever “certainly impending” is, it is more than a fraction of a fraction of a

percentage of possibility.7

      Third, the likelihood that any Plaintiff would encounter such a woman cuts

the fraction down further. In concluding that a Plaintiff-Association member would

“inevitabl[y]” treat one of these women “in the future,” the stay panel assumed that

every single member is an emergency room doctor.                 ROA.4394.     That is

unreasonable.    One association is the American College of Pediatricians, an

association of “physicians and other healthcare professionals” “dedicated to the

well-being of children,” Am. Coll. of Pediatricians, Frequently Asked Questions,

https://acpeds.org/about/faq (last visited Apr. 26, 2023); another is the Christian

Medical and Dental Association, whose member search function lists only 59

“Emergency Medicine” physicians, see Christian Med. & Dental Ass’n, Christian

Healthcare Professional Search, https://cmda.org/member-search/ (last visited Apr.

26, 2023); and the American Association of Pro-Life Obstetricians and

Gynecologists is open to retired physicians, non-physicians, and non-medical

individuals,    among     others,   see   AAPLOG,         Join    AAPLOG       Today!,




7
 See Jonathan Adler, The Good and Bad of the Fifth Circuit’s Abortion Pill Ruling,
reason.com (Apr. 13, 2023), https://reason.com/volokh/2023/04/13/the-good-and-
bad-of-the-fifth-circuits-abortion-pill-ruling/.


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https://aaplog.org/become-a-member/ (last visited Apr. 26, 2023).8 No facts in the

record show how many Plaintiff-Association members are emergency room doctors

who treat patients like these hypothetical women.

      As Summers held, finding standing based on such statistical probabilities

would “make a mockery” of Article III. 555 U.S. at 498-499; see also Lujan, 504

U.S. at 567 (standing may not be rooted in “pure speculation and fantasy”); E.T., 41

F.4th at 715 (“This circuit does not recognize the concept of probabilistic standing

based on a non-particularized increased risk.” (quotation omitted)); Attala Cnty.,

Miss. Branch of NAACP v. Evans, 37 F.4th 1038, 1043 (5th Cir. 2022) (no standing

absent facts showing “a ‘real and immediate threat’ or a ‘substantial risk’ that all

those events” required for future injury to come to fruition “will occur to one of

them”).

      The District Court nevertheless asserted that “Plaintiffs have good reasons to

believe their alleged injuries will continue in the future.” ROA.4321. In particular,

the District Court credited Plaintiffs’ argument that eliminating the mandatory,

additional provider adverse-event reporting requirement “radically altered the

standard of care” for certified prescribers and “harms the doctor-patient relationship”



8
 See also Adam Unikowsky, Mifepristone and the Rule of Law, Part III (Apr. 13,
2023), https://adamunikowsky.substack.com/p/mifepristone-and-the-rule-of-law-
f6a (detailing erroneous assumptions in the stay panel’s analysis).


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because Plaintiffs can no longer obtain “informed consent.”           ROA.4314-4315

(quotation omitted). But mifepristone is still subject to heightened adverse-event

reporting requirements. See infra p. 47. And no Plaintiff-doctor has ever sought

informed consent for medication abortion; they do not prescribe mifepristone to

anyone. That is true regardless of what FDA does or does not require of healthcare

providers who are certified to prescribe the drug.

      Meanwhile, the stay panel focused on Plaintiffs’ baseless claim that the 2016

changes would increase the risk of complications from ectopic pregnancies.

ROA.4392-4393. Again, no facts in any standing declaration support this concern:

No Plaintiff identified ever treating a woman with an ectopic pregnancy after she

took mifepristone, let alone as a result of the 2016 REMS changes. Plaintiffs’

declarations instead offered vague, conclusory statements with no basis in personal

experience and no factual link to the 2016 and 2021 changes. Compare ROA.4321

(declarant expressed concern that injuries may occur “possibly with greater

frequency than in the past”) (emphasis added), with, e.g., ROA.788 (FDA analysis

of studies showing no increased safety concerns with non-enforcement of in-person

dispensing); ROA.842 (FDA concluding that “[w]e have not identified any new

safety concerns with the use of mifepristone for this indication”); ROA.827-837

(reviewing assessment data, postmarketing safety information, and published

medical literature); see also ROA.813-814 (reiterating unchanged requirement that


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certified prescribers must be able to accurately “assess the duration of the

pregnancy” and “diagnose ectopic pregnancies”); ROA.817 (reducing number of in-

person follow-ups “does not compromise patient safety”). The District Court’s

“remarkable” decision to “excuse plaintiffs from showing such proof” of actual

future injury traceable to any action on the part of FDA “squarely conflicts with the

precedents described above.” E.T., 41 F.4th at 716.

             2.    Plaintiffs lack organizational standing.

      The District Court’s conclusion that organizational standing exists based on a

“diversionary injury” similarly fails to square Plaintiffs’ allegations with the law’s

requirements. ROA.4318-4319. “[A]n organization does not automatically suffer a

cognizable injury in fact by diverting resources in response to a defendant’s

conduct.” El Paso County v. Trump, 982 F.3d 332, 343 (5th Cir. 2020). Rather, the

alleged “diversion” must also significantly and “perceptibly impair[]” the

organization’s mission, and have a “consequent drain on the organization’s

resources.” Havens, 455 U.S. at 379; accord NAACP v. City of Kyle, 626 F.3d 233,

238 (5th Cir. 2010). A “simpl[e] … setback to the organization’s abstract social

interests,” Havens, 455 U.S. at 379, or conduct that does not “differ from [the

organization’s] routine activities” will not suffice. El Paso County, 982 F.3d at 344.

      Challenging FDA’s actions has not “perceptibly impair[ed]” Plaintiff-

Associations’ broader goals; it is their goal. E.g., ROA.232 (“CMA and its members



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are morally and ethically opposed to all forms of abortion”); ROA.252 (“CMDA is

opposed to elective abortions”); ROA.266 (“AAPLOG and its members oppose

elective abortions”). Indeed, the only specific injury the District Court identified fits

into the associations’ conceded “duties and responsibilities.” Compare ROA.4319

(holding that “educating” members about “dangers” of medication abortion

constitutes diversionary injury), with ROA.231-232, 235, 240-242. And because

these organizations have opposed medication abortion “for decades,” ROA.1046,

their actions did not arise after, and because of, FDA’s 2016 or 2021 actions. The

absence of a “causal connection between the injury and the conduct complained of”

precludes organizational standing.      City of Kyle, 626 F.3d at 237; Tenth St.

Residential Ass’n v. City of Dallas, 968 F.3d 492, 499 (5th Cir. 2020).

             3.     Plaintiffs lack third-party standing.

      The District Court also stretched third-party standing—a theory “not looked

favorably upon” to begin with—past its breaking point. Kowalski, 543 U.S. at 130.

Third-party standing first requires proving individual standing, see Powers, 499 U.S.

at 410-411, which Plaintiffs have not done. It also requires “a ‘close’ relationship”

and a “‘hindrance’ to the possessor’s ability to protect his own interests,” Kowalski,

543 U.S. at 130 (citations omitted), neither of which are present here.

      Plaintiff-physicians lack a close relationship with patients who want an

abortion and were prescribed mifepristone by another doctor. Their “relationship”



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is at worst antagonistic, and at best nonexistent. Id. at 131 (“no relationship” means

no third-party standing). Plaintiffs acknowledged as much in their declarations.

E.g., ROA.289 (“physicians must treat women … without an existing relationship

with the patient”); ROA.233 (“[E]mergency department doctors do not have a prior

relationship with these patients ….”). Moreover, third-party standing cannot be

based on a relationship with a “hypothetical” future patient. See Kowalski, 543 U.S.

at 131. And Plaintiffs offer no facts showing any patient is hindered in bringing suit.

      B.     Plaintiffs’ Challenge To The 2000 Mifeprex Approval Is Time-
             Barred.

      Plaintiffs’ challenge to the 2000 approval is untimely. The stay panel majority

correctly concluded as much. ROA.4401-4407. FDA denied Plaintiffs’ 2002 citizen

petition in March 2016. Plaintiffs had six years from then to sue. See 28 U.S.C.

§ 2401(a). Plaintiffs filed suit six years and eight months later. ROA.185.

      Plaintiffs have not and cannot argue that their 2019 citizen petition revives a

challenge to the 2000 approval. The 2019 petition actually urged FDA to “restore

and strengthen elements of the Mifeprex regimen and prescriber requirements

approved in 2000.” ROA.741 (emphasis added). It contains no challenge to the

2000 approval. See 21 C.F.R. § 10.45(b); Darby v. Cisneros, 509 U.S. 137, 153

(1993).

      The District Court proffered two theories for why it could nevertheless review

this time-barred claim: reopener or equitable tolling. And despite finding Plaintiffs’


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challenge untimely, the stay panel majority suggested that Plaintiffs’ failure to

exhaust their challenge to the 2000 approval in the 2019 petition was excusable. All

three of those conclusions are wrong.

             1.     The reopener doctrine does not apply.

      “The reopener doctrine allows judicial review where an agency has—either

explicitly or implicitly—undertaken to ‘reexamine its former choice.’” Nat’l Mining

Ass’n v. U.S. Dep’t of Interior, 70 F.3d 1345, 1351 (D.C. Cir. 1995) (citation

omitted). An agency “actual[ly]” reopens a prior decision by holding out the existing

decision “as a proposed regulation” and soliciting and responding to comments in

re-examining the existing regulation. Sierra Club v. EPA, 551 F.3d 1019, 1024

(D.C. Cir. 2008) (quotation omitted). An agency can also “constructively reopen a

rule” if its later decision “significantly alters the stakes of judicial review.” Id. at

1025 (quotations and brackets omitted).

      The District Court appeared to find reopener because (1) FDA “significantly

departed from the agency’s original approval” of mifepristone in 2016 and 2021, and

(2) FDA’s 2021 petition denial stated FDA had conducted a “full review” of the

mifepristone REMS, which must have meant FDA “necessarily consider[ed] the

possibility that a drug is too dangerous to be on the market.” ROA.4328. Neither

rationale supports reopener.




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      Nothing in the 2016 or 2021 changes shows that FDA explicitly or implicitly

reexamined its 2000 conclusion that mifepristone was safe and effective for use in

combination with misoprostol to terminate intrauterine pregnancy through 49 days

pregnancy. FDA’s 2016 REMS changes were in response to Danco’s sNDA, which

compiled extensive data showing that Mifeprex was safe and effective for use under

a broader set of conditions. ROA.2159, 2170-2174, 2225-2226. And besides,

Plaintiffs filed suit more than six years after FDA’s 2016 changes.

      FDA’s 2021 non-enforcement decision likewise did not reopen the narrower

2000 approval. FDA did not substantively reconsider that approval, ROA.4402-

4403, alter “the basic regulatory scheme,” NRDC v. EPA, 571 F.3d 1245, 1266 (D.C.

Cir. 2009), or change “the stakes of judicial review” for challenging the 2000

approval, Sierra Club, 551 F.3d at 1025 (quotation omitted). The basic regime—

Mifeprex is an approved drug subject to certain restrictions—remained unchanged;

FDA in 2021 merely announced that it was exercising enforcement discretion as to

one specific aspect.

      That leaves FDA’s 2021 petition denial, in which the District Court’s

preferred “full review” language appears. ROA.808. But the 2019 citizen petition

itself accepted FDA’s approval of Mifeprex in 2000 with certain use restrictions; it

urged FDA to “restore” and “retain” those original restrictions—not to reconsider

whether mifepristone should be approved at all. E.g., ROA.741-742. The District


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Court nevertheless reasoned that by referencing a “full review,” FDA must have

considered both whether all of the 2016 use restrictions remained necessary and

whether mifepristone “is too dangerous to be on the market, any mitigation strategy

notwithstanding.” ROA.4328-4329.

      That is wrong. As the stay panel acknowledged, FDA’s petition response “did

not expressly reconsider its mifepristone approval.” ROA.4406. Instead, FDA—

like the 2019 petition—treated the 2000 approval “as [a] given.” Ass’n of Am. R.Rs.

v. I.C.C., 846 F.2d 1465, 1473 (D.C. Cir. 1988). At most, FDA suggested it had

considered whether retaining all the existing restrictions was necessary to ensure

safe and effective use. If the fact that one agency action is “related” to another were

“sufficient to restart the … clock” on judicial review, no agency rule would ever be

final. Nat’l Mining Ass’n, 70 F.3d at 1351; see Texas v. Biden, 20 F.4th 928, 953

(5th Cir. 2021), as revised (Dec. 21, 2021) (“incremental adjustments to existing

regulations” insufficient) (quotation omitted), rev’d and remanded, 142 S. Ct. 2528

(2022).

      The stay panel speculated that the 2021 petition denial might potentially

trigger constructive reopening because FDA’s decision not to enforce the in-person

dispensing requirement eliminated “necessary safeguards” from the 2000 approval,

ROA.4406 (quoting Sierra Club, 551 F.3d at 1025), and “arguably worked” an

unanticipated “‘sea change’ in the legal framework governing mifepristone


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distribution that … ‘significantly alters the stakes of judicial review,’” ROA.4406

(quoting Nat’l Biodiesel Bd. v. EPA, 843 F.3d 1010, 1017 (D.C. Cir. 2016)).

      That misunderstands Sierra Club and National Biodiesel Board. The question

there was whether the agency had so altered the regulatory status quo that plaintiffs

who lacked adequate notice or incentive to challenge the original decision now had

such notice or incentive after the regulatory sea change. In Sierra Club, the original

rule “may not have been worth challenging”—indeed, the plaintiffs had not

challenged it—but the new rule “completely changed” the incentives to seek judicial

review and the “stakes” of doing so by fundamentally altering “the regulatory

context.” 551 F.3d at 1025-26 (quotations omitted). Reopener thus was warranted:

EPA’s later action “changed the calculus for petitioners in seeking judicial review”

of the original decision. Id. at 1026. And in National Biodiesel Board, the D.C.

Circuit rejected reopening on the ground that the agency had neither “alter[ed] th[e]

regulatory framework nor work[ed]” an unanticipated change. 843 F.3d at 1017.

The court therefore declined to excuse plaintiffs’ failure to timely challenge the

regulatory framework. Id.

      Compare that to this case. The 2002 citizen petition challenged the 2000

approval, so Plaintiffs clearly believed it was “worth challenging.” Sierra Club, 551

F.3d at 1026. And the 2021 petition denial did not significantly alter the stakes of

seeking judicial review of the 2000 approval: FDA merely confirmed its decision


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that time and data had shown some of the original mifepristone restrictions were

unnecessary. That was nowhere close to a “sea change,” let alone one Plaintiffs

could not have “reasonably anticipated,” Nat’l Biodiesel Bd., 843 F.3d at 1017

(quotation omitted), “by dint of the statutorily defined [sNDA] process and other

similar revision mechanisms,” ROA.4407.

      Finally, neither the District Court nor the stay panel majority looked, as the

reopener doctrine requires, to the “entire context.” Pub. Citizen v. Nuclear Regul.

Comm’n, 901 F.2d 147, 150 (D.C. Cir. 1990). The District Court speculated about

what FDA’s “full review” might have entailed and whether FDA had considered

invoking its statutory authority to withdraw a previously granted approval. See

ROA.4403-4404;9 21 U.S.C. § 355(e). Nothing in the record suggests that option

was under consideration.

            2.     Equitable tolling is inapplicable.

      The District Court applied “equitable tolling” to permit Plaintiffs’ untimely

challenge to the 2000 approval. ROA.4329-4331. The stay panel found this error,

for good reason.    ROA.4407.      Equitable tolling applies “only if the litigant

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  This analysis was internally inconsistent. The court held the REMS reopened the
2000 approval, ROA.4328, but that FDA’s decision to implement a REMS “did not
affect … whether an NDA was properly approved or authorized under Subpart H,”
ROA.4354. Either the REMS reopened and superseded the 2000 approval, rendering
any purported Subpart H-based error irrelevant. See infra pp. 49-50. Or the REMS
did not reopen the 2000 approval, meaning Plaintiffs’ challenge to the 2000 approval
is time-barred.


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establishes two elements: (1) that he has been pursuing his rights diligently, and

(2) that some extraordinary circumstances stood in his way and prevented timely

filing.” Menominee Indian Tribe of Wis. v. United States, 577 U.S. 250, 255, 257

(2016). Neither requirement is satisfied.

      First, Plaintiffs did not diligently pursue their rights in court or before FDA.

They did not “actively pursue [their] judicial remedies,” Irwin v. Dep’t of Veterans

Affs., 498 U.S. 89, 96 (1990), such as by seeking to judicially “compel” FDA to act

on their petition, 5 U.S.C. § 706(1). They also did not actively pursue remedies from

FDA. The best the District Court could muster was that a member of a Plaintiff-

Association not party to the 2002 petition twice publicly “called upon” FDA to

respond to the petition. ROA.4331 (quoting ROA.234). But equitable tolling does

not kick in any time someone publicly urges the Government to take action.

      Second, no extraordinary circumstances “beyond [Plaintiffs’] control”

prevented their timely filing. Menominee, 577 U.S. at 257; ROA.4407. Just the

opposite: Plaintiffs had ample opportunity to sue. They failed to do so, even though

FDA’s delay in adjudicating the 2002 petition extended their limitations period all

the way through March 2022.




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             3.    Plaintiffs’ failure to exhaust is inexcusable.

      The stay panel majority suggested Plaintiffs’ failure to exhaust their challenge

to the 2000 approval in the 2019 petition might be excusable as futile or under an

“abuse of process” theory. ROA.4409. Wrong again.

      First, the futility “exception is quite restricted,” and should be applied “in only

the most exceptional circumstances.” Tesoro Refin. & Mktg. Co. v. FERC, 552 F.3d

868, 874 (D.C. Cir. 2009) (quotations omitted). It “requir[es] a certainty of an

adverse decision”; that “an unfavorable decision [is] highly likely” does not suffice.

Id. (cleaned up). On Plaintiffs’ own theory, that certainty is lacking here: they (and

the District Court) relied on studies and evidence post-dating FDA’s prior decisions

to argue mifepristone is not safe or effective. See, e.g., ROA.94, 144, 482-519, 848-

879, 4352-4353. Plaintiffs had no way of knowing how FDA would respond to

studies and evidence the agency did not have the opportunity to consider.

      Second, the stay panel’s novel “abuse of process” theory, which Plaintiffs

never invoked, cannot save Plaintiffs’ unexhausted claim, as the cases the stay panel

cited make clear. ROA.4408-4410. It would not be “a plain miscarriage of justice”

to enforce exhaustion here. Hormel v. Helvering, 312 U.S. 552, 558 (1941). No

intervening decision made the result inevitable. Cf. id. at 559-560. Unlike in Way

of Life Television Network, Inc. v. F.C.C., 593 F.2d 1356, 1359-60 (D.C. Cir. 1979),

the agency did not fault a party for failing to meet an unstated deadline. And



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Congress in the APA expressly told Plaintiffs how to handle any perceived

“unfairness” or “defect in the administrative process” as a result of FDA’s delay in

adjudicating their petitions: file a lawsuit seeking to compel agency action

unreasonably delayed. See Washington Ass’n for Television & Child. v. F.C.C., 712

F.2d 677, 683 (D.C. Cir. 1983); 5 U.S.C. § 706(1). Plaintiffs abused the process by

failing to follow that statutorily prescribed path.

      C.     Plaintiffs’ Claims Fail On The Merits.

             1.     FDA’s 2000 approval and subsequent changes were not
                    arbitrary and capricious.

      Under the “narrow and highly deferential” APA standard, Huawei Techs., 2

F.4th at 449 (quotation omitted), the questions are whether FDA’s actions were

“reasonable and reasonably explained,” Prometheus, 141 S. Ct. at 1158, and whether

its factual findings are supported by substantial evidence. Buffalo Marine Servs.,

663 F.3d at 753-754. Courts “may not reweigh the evidence, try the issues de novo,

or substitute [their] judgment for” the agency’s. Greenspan, 38 F.3d at 236. FDA’s

challenged actions easily survive under this standard. FDA acted reasonably in

approving Mifeprex in 2000, in adopting the 2016 changes, and in its 2021 non-

enforcement decision.

      1. The District Court’s conclusion that FDA acted arbitrarily turned on an

invented “study-match” rule. ROA.4356 n.48. FDA evaluates new drugs by

considering whether there is “substantial evidence” of effectiveness from “adequate


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and well-controlled investigations” and sufficient evidence of safety, and whether

the drug’s benefits outweigh any risks. 21 U.S.C. § 355(d). A team of experts

(including physicians, statisticians, chemists, pharmacologists, and other scientists)

reviews each application and carefully assesses all relevant data in light of the drug’s

proposed labeling and intended use. If the applicant has demonstrated the drug is

safe and effective under the conditions of use in the proposed labeling, and satisfied

certain other conditions, FDA must approve the drug. 21 U.S.C. §§ 355(c)-(d).

      FDA likewise has wide latitude in evaluating proposed REMS modifications.

FDA can consider clinical trial data, postapproval studies, adverse event reports and

other postmarket safety data, and peer-reviewed scientific literature. See id. § 355-

1(b)(3).   FDA must approve a REMS modification when the modification is

necessary to ensure the REMS is not “unduly burdensome on patient access” or to

“minimize the burden on the health care delivery system.” Id. § 355-1(g)(4)(B); see

also id. § 355-1(f)(2).

      These intentionally flexible standards allow FDA to rely on a range of data in

evaluating an NDA or REMS and to extrapolate from various sources as it deems

appropriate. That flexibility is particularly important because clinical trials often

employ more restrictive conditions than those ultimately recommended for approved

labeling, a practice intended to protect study participants before FDA has concluded




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a drug is safe and effective for a particular use. See ROA.662; see also ROA.3329-

3300.

        Quite simply, no statutory or regulatory provision prohibits FDA from

approving an NDA or REMS where FDA cannot point to one clinical trial evaluating

the drug under all of the exact approved conditions of use. FDA can, in its scientific

judgment, determine that the existing studies show the drug is safe for use under the

proposed labeling. That is what occurred here, and what occurs with virtually every

drug on the market. ECF No. 118 at 34-37 (observing that under the District Court’s

“groundless approach, it is unlikely that a single [drug] would have been approved—

or that their approvals would have gone unchallenged—and countless patients would

have suffered needlessly”).

        No agency must have “perfect empirical or statistical data” before it can act;

agencies can form a “reasonable predictive judgment” based on the evidence before

them. Prometheus, 141 S. Ct. at 1160. The District Court erred as a matter of law

in finding FDA acted unreasonably in approving the Mifeprex NDA or modifying

the REMS without a study that considered the exact proposed combination of

conditions. See id. at 1161 (Thomas, J., concurring) (lower court erred in “forcing”

agency “to consider” an issue statute did not mandate; “[c]ourts have no authority to

impose ‘judge-made procedur[es]’ on agencies) (quoting Perez v. Mortg. Bankers

Ass’n, 575 U.S. 92, 102 (2015)). This legal error warrants reversal.


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      2. The District Court also erred in finding FDA acted arbitrarily and

capriciously in 2000, 2016, and 2021. Even on the limited record before the lower

courts, FDA’s approval decisions were reasonable, reasonably explained, and

supported by substantial evidence.

      Start with 2000. FDA reviewed three clinical trials showing mifepristone was

safe and effective—only three women (out of 2,659), for example, required blood

transfusions, and the patient’s pregnancy was successfully terminated with no

further intervention in 92.1-95.5% of cases. ROA.591. FDA carefully evaluated the

data and adopted a reasoned set of limited restrictions on Mifeprex’s use, while

determining other restrictions were not necessary.10

      Relying on a series of anecdotes and studies post-dating the 2000 approval,

none of which were presented to FDA, the District Court concluded FDA

nevertheless acted arbitrarily and capriciously. Each decision the District Court

second-guessed was well within FDA’s expert bailiwick.

      The District Court primarily disagreed with FDA’s decision to grant providers

discretion in the original 2000 approval to determine whether to give a patient an



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   The District Court appeared to fault FDA for not studying the effects of
mifepristone in individuals under 18. Data submitted in the original approval and
2016 changes included testing in under-18 patients. ROA.2188, 2405. FDA waived
the pediatric study requirements for premenarchal patients; the requirements for
postmenarchal pediatric patients were met. ROA.2149, 2190.


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ultrasound. ROA.4357-4360. FDA relied on two clinical trials that established

mifepristone was safe and effective when providers were given that discretion. The

District Court seemed to fault FDA’s reliance on those trials because they were

smaller than a U.S. clinical trial. ROA.4355 n.47. But it is up to the agency—not

the court—to determine how to weigh clinical trial evidence. See, e.g., Serono

Lab’ys, Inc. v. Shalala, 158 F.3d 1313, 1327 (D.C. Cir. 1998) (“Neither we, nor the

district judge, are scientists independently capable of assessing the validity of the

agency’s determination—beyond holding it to the standards of rationality required

by the [APA].”). And it is flatly impermissible for the court to second-guess the

agency’s conclusion to grant approval in 2000 based on a smattering of anecdotes

and suspect studies post-dating FDA’s decision. See ROA.4358-4360.

      FDA also reasonably concluded special certification programs were

unnecessary because “qualified physicians will be using this drug.” ROA.595. And

FDA adequately ensured any woman who did experience complications would know

how to obtain treatment by directing that providers who could not themselves

provide surgical intervention give patients contact information for someone who

could. Id. For women without access to emergency services, the use of Mifeprex

was contraindicated.

      The District Court also wrongly faulted FDA for acting arbitrarily and

capriciously in not evaluating “psychological effects of the drug,” ROA.4357, by


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which the court appears to mean whether women later regret their choice to have an

abortion. This, again, criticizes FDA for something that it is not directed to do by

21 U.S.C. § 355(d). It also relies, again, on sources post-dating mifepristone’s

approval by decades. And those sources are not even specific to medication

abortion—they discuss all types of pregnancy loss. ROA.4357 (citing ROA.3495).

      Nor was it arbitrary and capricious for FDA to approve Mifeprex after

raising—and resolving—concerns over the course of its review of the NDA. See,

e.g., ROA.4360-4363. Were FDA never permitted to approve a drug after engaging

in discussions about its safety and efficacy, most drugs would never be approvable.

As FDA recognized, “[i]t is not unusual for such differences to emerge during the

course of the review process for a proposed drug product.” ROA.651. After

evaluating significant evidence, FDA found Mifeprex safe and effective under the

conditions of use and reasonably explained its decision. Its determination was not

arbitrary and capricious.

      Plaintiffs’ challenge to FDA’s 2016 changes fares no better. In 2016, FDA

looked at dozens of studies covering tens of thousands of women, including studies

that specifically addressed every single change FDA was considering:

      ●      20 studies including over 35,000 women supporting the conclusion that

             the new dosing regimen would be safe and effective, ROA.2170-2174,

             2202-2203;


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      ●     seven studies including 934 women supporting increasing the

            gestational-age cutoff, ROA.2179-2180, 2203;

      ●     11 studies including 30,763 women supporting home administration of

            misoprostol, ROA.2182-2183, and showing “adverse events equal to or

            lower than those with the approved regimen requiring in-office

            dispensing of misoprostol,” ROA.2204;

      ●     four studies including 3,200 women supporting non-physician

            prescribing of Mifeprex, ROA.2185-2186;11

      ●     one study involving over 45,000 women supporting increased

            flexibility for follow-up appointments, ROA.2186;

      ●     and 15 years of data showing Mifeprex’s safe use under various

            conditions, ROA.2201-2202.

      The District Court suggested that FDA’s decision to remove safeguards has

harmed women. ROA.4358-4360. The data overwhelmingly disproves the court’s

scattershot examples. At the time of the 2016 changes, fewer than 0.13% of the over

2.5 million U.S. women who had used Mifeprex had experienced any adverse event,


11
  Consistent with FDA’s deference to state regulation of the practice of medicine,
including whether advanced practice providers can prescribe drugs, all approved
REMS programs universally refer to “prescribers” and “healthcare providers,” rather
than physicians. See FDA, Approved Risk Evaluation and Mitigation Strategies
(REMS), https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm (last visited
Apr. 26, 2023) (FDA, REMS).


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as reflected in the mandatory provider adverse-event reporting. ROA.2225-2226.

Despite those low numbers from mandatory reporting, the District Court suggested

that FDA “shirked” its responsibilities by ending heightened mandatory provider

reporting of serious adverse events in 2016. ROA.4365. But even after the 2016

changes, mifepristone remains subject to a more rigorous adverse event reporting

regime than the vast majority of drugs. The mifepristone REMS is one of only five

REMS programs for which FDA requires prescribers to report deaths of any cause

in patients who receive the drug. See FDA, REMS, supra note 11. On top of that,

Danco is bound by 21 C.F.R. § 314.80 and § 314.81 to report serious, unexpected

adverse events to FDA within 15 days, and all others on an annual basis. Providers

like Plaintiff-physicians and the Plaintiff-Association members also can voluntarily

report adverse events directly to FDA, including through an online form. See 21

C.F.R. § 20.112; FDA, Medwatch Online Voluntary Reporting Form,

https://www.accessdata.fda.gov/scripts/medwatch/ (last visited Apr. 26, 2023).

      The 2021 non-enforcement decision was likewise supported by ample

evidence. FDA examined actual postmarketing safety data from an eight-month

period during which in-person dispensing was not enforced due to the COVID-19

pandemic. ROA.827-829. That data showed “no indication” that relaxing the in-

person dispensing requirement “contributed to … adverse events.” ROA.827-828.

Based on this, FDA concluded “that mifepristone may be safely used without in-


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person dispensing.” ROA.829. FDA also examined three studies permitting mail-

order pharmacy dispensing and five studies allowing clinic dispensing by mail, all

of which supported the conclusion that mifepristone would still be safe and effective

even with a relaxed in-person dispensing requirement. ROA.833-836.

      The District Court did not conclude otherwise; it enjoined FDA’s 2021

changes entirely on its interpretation of the Comstock Act. ROA.4344-4345. More

on that shortly; see infra pp. 52-56. The stay panel, for its part, concluded Plaintiffs

were likely to succeed in showing the 2021 changes were arbitrary and capricious

based solely on the elimination of the adverse reporting requirement. ROA.4412.

That fails for the reasons explained.

      In short, FDA relied on abundant data; exercised its scientific expertise; made

“a reasonable predictive judgment based on the evidence it had”; and “reasonably

explained” its decision approving Mifeprex in 2000, and in promulgating the 2016

and 2021 changes. Prometheus, 141 S. Ct. at 1160. Courts may not second-guess

that scientific decision making, particularly when it comes to consequential matters

of public health. See id. at 1159-60. In fact, this is the first time a court has ever

second-guessed FDA’s scientific judgment by enjoining a drug’s approval on the

ground that FDA got the science wrong.




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             2.    FDA’s initial reliance on Subpart H has no legal effect today,
                   and was permissible in any event.

      Mifepristone is subject today to FDA’s REMS authority. “Deemed” by

Congress in 2008 to have a REMS in place, Mifeprex’s REMS was formally

approved by FDA in 2011. Supra pp. 5-6. The District Court’s view that FDA

should not have used Subpart H to impose use restrictions from 2000-2008 is an

entirely academic question.

      Before the 2008 enactment of the REMS authority in 21 U.S.C. § 355-1, FDA

relied on its authority under 21 U.S.C. § 355 to approve Mifeprex, and its authority

under Subpart H to impose “restrictions to assure safe use” prior to approving a drug

otherwise “shown to be effective.” See 21 C.F.R. § 314.520. In the 15 years since

Congress enacted § 355-1, FDA has never relied on Subpart H to impose use

restrictions; it uses the REMS authority in § 355-1.

      FDA’s approval of the mifepristone REMS formalized Mifeprex’s conversion

from having certain restrictions under Subpart H to having restrictions under a

REMS. Simply put, Subpart H plays no role in the use restrictions applicable to

mifepristone today.

      The District Court misunderstood the statutory and regulatory scheme. It

erroneously suggested that FDA had “accelerated” the Mifeprex approval.

ROA.4346-4347, 4350. Incorrect. Separate Subpart H provisions cover accelerated




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approval and use restrictions. Compare 21 C.F.R. § 314.510 with 21 C.F.R.

§ 314.520(a); supra note 2. FDA used only the latter back in 2000.12

      The District Court also misunderstood the effect of the REMS framework. It

thought Congress’s decision to “deem” mifepristone to have a REMS was merely

designed to “ease[] the regulatory transition from Subpart H to the REMS

provision.” ROA.4354. In fact, by “deem[ing]” drugs approved prior to 2007 “to

have in effect an approved [REMS],” Congress effectively superseded FDA’s prior

decision to implement use restrictions under Subpart H. Pub. L. No. 110-85,

§ 909(b)(1). FDA’s later approval of Danco’s REMS submission in 2011 completed

the transition to REMS-governed use restrictions under § 355-1. There is no legal

justification for effectively vacating mifepristone’s approval today based on Subpart

H’s pre-2008 role in the drug’s initial use restrictions. See Allied-Signal, Inc. v. U.S.

Nuclear Regul. Comm’n, 988 F.2d 146, 150-151 (D.C. Cir. 1993) (discussing

standard for remand without vacatur); infra p. 61.

      Regardless, FDA properly invoked its Subpart H authority to implement use

restrictions when it approved Mifeprex. Subpart H “applies to certain new drug

products that have been studied for their safety and effectiveness in treating serious

or life-threatening illnesses and that provide meaningful therapeutic benefit to


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  Mifeprex’s approval was far from fast. It took FDA 54 months to approve the
drug—more than three times the then-average duration for a drug approval. 2008
GAO Report, supra, at 27.

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patients over existing treatments.” 21 C.F.R. § 314.500. Consistent with FDA’s

interchangeable use of “illness,” “condition,” and “disease” under the FDCA, the

agency reasonably concluded that it could use Subpart H to approve drugs to treat a

variety of conditions that some may not consider an “illness”—including Mifeprex.

See New Drug, Antibiotic, and Biological Drug Product Regulations, 57 Fed. Reg.

58,942, 58,946 (Dec. 11, 1992). Mifeprex is not an outlier in that respect: FDA

likewise used Subpart H to approve drugs for acute acne, infertility, and

inflammation. See 2008 GAO Report, supra, at 4-5; ECF No. 112 at 18-19. To the

extent doubt remains, FDA’s construction deserves deference under Kisor v. Wilkie,

139 S. Ct. 2400, 2415-18 (2019).

         FDA also reasonably exercised its scientific expertise to determine that

Mifeprex has a “meaningful therapeutic benefit” over surgical abortion. Infra

pp. 57-59. The APA does not imbue a reviewing court with license to replace the

agency’s expert judgment with its own view. That is especially true when the court

relied on its independent research and on sources post-dating the agency’s various

approvals—including a study of a small number of anonymous blog posts on a

website called AbortionChangesYou.com. See ROA.507-519.13 APA review must

be “limited to the record before the agency at the time of its decision.” Fort Bend




13
     See generally Unikowsky, supra note 8 (discussing same).

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County v. U.S. Army Corps of Eng’rs, 59 F.4th 180, 196 (5th Cir. 2023) (quotation

omitted).

      D.      Plaintiffs’ Comstock Act Argument Fails.

      1. The District Court concluded FDA likely violated the Comstock Act in

2021 when it exercised enforcement discretion and permitted mifepristone to be

distributed to patients by mail. But the court should never have reached that

admittedly unexhausted issue. See ROA.4215-4216. The court’s attempts to excuse

Plaintiffs’ failure to exhaust are wrong at every turn.

      First, the District Court found judicial review appropriate because the 2021

non-enforcement decision is “contrary to [the Comstock Act’s] important public

policy.”     ROA.4334 (quotation omitted).        Its only support for this purported

exception is Myron v. Martin, a 41-year-old Fifth Circuit decision that declined to

excuse a failure to exhaust. 670 F.2d 49, 52 (5th Cir. 1982). If courts can excuse

failure to exhaust because the subject statute embodies “important public policy,”

Katy bar the door.

      Second, the court found that requiring Plaintiffs to exhaust their Comstock

Act claim would “result in individual injustice or cause irreparable injury,” again

exclusively citing cases that refused to excuse exhaustion. ROA.4335 (quotations

omitted). Someone go help Katy. Besides, the court is wrong on the equities. Infra

pp. 56-62.



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      Third, relying on Coit Indep. Joint Venture v. Fed. Sav. & Loan Ins. Corp.,

489 U.S. 561, 587 (1989), the District Court opined that Plaintiffs need not present

this claim to FDA because the agency’s prior delays “shows [its] procedures have

been inadequate.” ROA.4336. In Coit, there was no “time limit” on agency action—

meaning the agency could delay administrative processing indefinitely while the

limitations-clock was ticking. 489 U.S. at 586-587. Here, there is a time limit and

a judicially-enforceable remedy if FDA misses that deadline.           See 21 C.F.R.

§ 10.30(e); 5 U.S.C. § 706(1). Plaintiffs’ choice not to exercise those options does

not render FDA’s procedures inadequate.

      Fourth, the District Court found exhaustion futile, even though Plaintiffs

never presented this claim to FDA. ROA.4336-4337. The failure to exhaust is not

excusable where plaintiffs decline to raise an argument on speculation that “the

agency would reject it in the future.” Tesoro, 552 F.3d at 874. And the agency

statements the court invoked to find futility issued after Plaintiffs filed suit. See

ROA.4336-4337. An agency’s expected or stated adverse litigation position does

not render exhaustion “futile.”

      Finally, the court held that Plaintiffs had raised their Comstock Act claim with

“sufficient clarity” because (1) the 2019 petition mentioned keeping in-person

dispensing (but not Comstock); and (2) the Postal Service and Department of Health

and Human Services asked the Office of Legal Counsel (OLC) for an opinion


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concerning Comstock after FDA issued the 2021 changes, and OLC mentioned

“FDA’s [medication abortion] regimen” in response. ROA.4337. None of that

answers whether Plaintiffs raised the issue “with sufficient clarity to allow the

decision maker to understand and rule on the issue raised.” ROA.4334 (emphasis

added and quotation omitted). The answer is no. Nobody ever raised the Comstock

Act to “the decision maker”—FDA.

      Regardless, any claim based on the 2021 non-enforcement statement was

mooted when FDA permanently removed the in-person dispensing requirement. See

Ctr. for Drug Evaluation & Rsch., Approval Package for NDA 20-687/S-025 (Jan.

3, 2023), https://www.accessdata.fda.gov/drugsatfda_docs/nda/2023/020687Orig1

s025.pdf. Plaintiffs did not amend their complaint or raise a challenge to the 2023

REMS at any point in the briefing or at the hearing. See ROA.3240-3252, 4195-

4227. The court lacked jurisdiction to issue a preliminary injunction based on a

superseded exercise of enforcement discretion.

      2. The District Court’s Comstock Act analysis also fails on the merits. The

premise of the court’s order is that FDA was obligated to evaluate the Comstock Act

in considering mifepristone’s approval conditions. The assumption is misplaced for

multiple reasons.

      One:   Neither Plaintiffs nor the District Court pointed to a single case

requiring agencies to scour the capacious U.S. Code to identify every statute that


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might potentially apply to some aspect of agency operations. In the face of that

silence, it is unsurprising that FDA did not address an 1873 criminal statute that it is

not charged with interpreting or enforcing (or the myriad other laws that might

govern approved drugs, like state tort laws or laws directed to the SEC or IRS).

      Two: FDA is not allowed to orient NDAs or REMS around a criminal statute

beyond FDA’s purview. See DeNaples v. Off. of Comptroller of Currency, 706 F.3d

481, 490 (D.C. Cir. 2013). By statute, FDA may consider only seven grounds in

approving or denying an NDA. 21 U.S.C. § 355(d). If none applies, FDA “shall

issue an order approving the application.” Id. Compliance with criminal laws—or

any other laws that FDA is not tasked with administering—is not on that list.

      Three: When FDA took the challenged actions, Roe v. Wade was governing

law—so the Comstock Act could not have been constitutionally enforced to prohibit

the mailing of mifepristone. Under the APA, the lawfulness of agency action must

be evaluated by looking to the law at the time the agency acted. See Circus Circus

Casinos, Inc. v. NLRB, 961 F.3d 469, 476 (D.C. Cir. 2020). The District Court

theorized that FDA should nevertheless have considered whether enforcing the

Comstock Act might not run afoul of Casey’s undue burden test. ROA.4344. That

still does not explain why FDA was affirmatively required to find and discuss this

criminal law. Nor does it explain how FDA, an agency charged with “promot[ing]

the public health by … reviewing clinical research” and acting “on the marketing of


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regulated products,” would have the authority to interpret that criminal law. See 21

U.S.C. § 393(b)(1); FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 161

(2000) (agencies may not regulate absent valid congressional grant of authority).

      Finally, multiple courts of appeals and OLC have interpreted the statute to

restrict only the sending of items intended for unlawful abortions. See ROA.2343-

2349 (collecting cases). FDA was not required to diverge from these considered

views, especially where the rule of lenity favors the narrower construction. See, e.g.,

Leocal v. Ashcroft, 543 U.S. 1, 11 n.8 (2004) (lenity applies in civil context where

criminal statute has “both criminal and noncriminal applications”).

II.   THE EQUITIES OVERWHELMINGLY FAVOR DEFENDANTS.

      The District Court’s equities analysis is as mistaken as its merits analysis. It

claimed to be maintaining the status quo by merely “stay[ing]” an approval that went

into effect 23 years ago. ROA.4373. But the ruling is plainly a “particularly

disfavored” mandatory injunction that upends a decades-long status quo. Martinez,

544 F.2d at 1243. And the equities overwhelmingly favor denying injunctive relief,

mandatory or otherwise.

      A.     Danco Faces Substantial, Certain, Unrecoverable Harm.

      The District Court’s ruling effectively made marketing and distributing

mifepristone unlawful under the FDCA while this case proceeds. Mifeprex is

Danco’s only product, and under the ruling below, Danco would likely be unable to



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continue operations. ECF No. 29 at 78, ¶ 11. The District Court completely ignored

this undeniably irreparable harm to Danco. See Atwood Turnkey Drilling, Inc. v.

Petroleo Brasileiro, S.A., 875 F.2d 1174, 1179 (5th Cir. 1989) (“potential economic

loss” that “threaten[s] the existence of the movant’s business” is irreparable). That

was error. See Direct Biologics L.L.C. v. McQueen, 63 F.4th 1015, 1020 (5th Cir.

2023) (court must “consider the effect on each party”) (quotation marks omitted).

      The harm to Danco cannot be ameliorated by enjoining only the 2016 or 2021

FDA actions. FDA has made clear that such an order will render misbranded all

extant doses of Mifeprex. Woodcock Decl. ¶¶ 15-16.14 Distributing a misbranded

product will expose Danco to severe civil or criminal penalties. See Woodcock Decl.

¶ 15; 21 U.S.C. § 331(a). The company would therefore be unable to distribute its

sole product for the months it would take to prepare a new sNDA; for FDA to review

and approve the sNDA; and for Danco to relabel Mifeprex, implement the modified

REMS, including re-certifying prescribers with new provider agreement forms, and

update its distribution model. See Woodcock Decl. ¶¶ 14-15; Long Decl. ¶¶ 11-12,

26.15 This will irreparably harm the one-product pharmaceutical company.




14
   The Woodcock declaration is available in the appendix to the stay application filed
in Supreme Court No. 22A902, beginning on page 110a.
15
   The Long declaration is available in the appendix to the stay application filed in
Supreme Court No. 22A901, beginning on page 110a.

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      B.    The Public Interest Favors The Government And Danco.

      The public interest favors continued access to a safe and effective drug that is

approved for use in 94 countries worldwide;16 has been on the World Health

Organization’s Model List of Essential Medicines for more than 15 years;17 and has

been relied on by over 5 million women in this country as the standard of care for

medication abortions for more than two decades.

      The District Court’s contrary analysis rests on a false narrative that does not

account for the interests of the more than 96% of women for whom mifepristone is

effective, ROA.2170-2174, and the more than 99.9% of women who do not

experience any serious adverse event, ROA.2189, 2198, 2224-2227. As numerous

amicus briefs and declarations have emphasized, under the District Court’s

injunction, many women unable to obtain a mifepristone prescription would be

forced to undergo more complicated, more intrusive, riskier, and later-gestational

age surgical abortions; turn to unapproved regimens with a lower complete success

rate and more intense side effects; obtain drugs from abroad; or to continue a non-

viable or unwanted pregnancy—and endure the risks, complications, and

psychological harms attendant to these alternatives. E.g., ECF No. 29 at 71-73,


16
   See Gynuity Health Projects, Mifepristone Approved List (updated Mar. 2023),
https://gynuity.org/assets/resources/mapmifelist_en.pdf.
17
   See World Health Org., WHO Model List of Essential Medicines – 22nd List, 2021
(Sept. 30, 2021), https://www.who.int/publications/i/item/WHO-MHP-HPS-EML-
2021.02.

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¶¶ 10-11, 13-14; id. at 84, 86-89, ¶¶ 12, 18-22; ECF No. 111 at 27-29; ECF No. 63

at 23-30. The court’s order also harms the doctor-patient relationship by prohibiting

doctors from recommending medication abortion when, in their medical judgment,

it is the best course of treatment for a particular patient’s circumstances. See ECF

No. 29 at 73, ¶ 15; id. at 87-88, ¶¶ 19, 21.

      As the American College of Obstetricians and Gynecologists explained,

enjoining any of FDA’s challenged actions also creates serious health risks and

denies access to essential medical care for patients who use mifepristone off-label

for miscarriage management, to reduce the duration of bleeding during certain

serious pregnancy complications, and for maternal health purposes. ROA.3584-

3585; see also, e.g., S. File No. 0109, § 1(b)(ii), 67th Leg., 2023 Gen. Sess. (Wyo.

2023).

      The decision below destabilizes the pharmaceutical industry. As over 700

pharmaceutical executives emphasized in supporting FDA’s regulatory authority,

the court’s rogue decision diminishes FDA’s authority over drug approvals, creates

uncertainty for the industry, reduces incentives for investment, and puts any

medicine at risk for the same outcome. See Carma Hassan, Drugmakers Sign Letter

Supporting FDA and Calling for Reversal of Texas Judge’s Mifepristone Ruling,

CNN.com (Apr. 10, 2023), https://www.cnn.com/2023/04/10/health/mifepristone-

drugmakers-letter/index.html (linking to letter); see also ECF No. 118


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(pharmaceutical company, executives, and investors amicus brief detailing industry

harms); PhRMA Amicus Br. at 18-2118 (same from Pharmaceutical Research and

Manufacturers of America).

        Until this case, no court had ever ordered a drug to be pulled from the market

based on its reassessment of FDA’s safety and efficacy determination. The role of

Article III courts is to say what the law is, not to say what a judge might have done

if he were FDA Commissioner. The public interest is served by respecting the

particular capability of this expert agency—and all of its physicians, data scientists,

statisticians, chemists, pharmacologists, and other scientists—to decide questions of

drug safety.

        Vacating the injunction would also serve the interests of all 50 states and

preserve the separation of powers. Under Dobbs v. Jackson Women’s Health Org.,

“the people and their elected representatives” enjoy the power to regulate abortion.

142 S. Ct. 2228, 2259 (2022). The injunction eviscerates that sovereign authority

for States that wish “to protect the right to choose to terminate a pregnancy,”

ROA.2889; imposes “heightened health and economic costs” on local governments,

ECF No. 125 at 17-18; burdens overwhelmed public hospital systems, see ECF No.

117 at 33-36; and upsets Congress’s decision to assign FDA responsibility for safety




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     Available at Supreme Court Docket No. 22A902.

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and efficacy determinations, which courts review for substantial evidence and with

significant deference, see ECF No. 110 at 29-33.

      Any half-measure that leaves the 2000 approval in place and enjoins only later

FDA action(s) will exacerbate these harms, not alleviate them. Requiring a return

to a prior and outdated REMS and label would also create months-long loss of

access, while FDA and Danco work through the sNDA process. See Woodcock

Decl. ¶ 14; supra p. 57.

      Even if Plaintiffs win on the merits, moreover, the appropriate remedy would

be remand without vacatur to allow FDA to consider and remedy any issue the Court

identifies. Cent. & S. W. Servs. v. EPA, 220 F.3d 683, 692 (5th Cir. 2000). That is

especially so given “the disruptive consequences” that may otherwise result. Allied-

Signal, 988 F.2d at 150-151 (quotation omitted). A preliminary injunction cannot

award a party more relief than would be available on the merits, De Beers Consol.

Mines v. United States, 325 U.S. 212, 220 (1945)—but that is effectively what the

District Court did, causing significant disruption and harm to the public interest.

      C.     Plaintiffs Face No Irreparable Harm Absent An Injunction.

      Plaintiffs claim irreparable injury from speculative concerns about having to

provide follow-up surgical abortion care in emergency rooms in response to

discretionary actions by third parties who want to prescribe and be prescribed

mifepristone—an eventuality that will rarely, if ever, occur given (1) the tiny number



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of women who have historically sought such care in emergency rooms and

(2) conscience-clause protections for doctors who do not wish to provide such care.

      Plaintiffs’ dilatory actions further undermine any speculative claims of

irreparable injury.   See Holmberg v. Armbrecht, 327 U.S. 392, 396 (1946)

(“equitable relief” inappropriate when plaintiff “inexcusably slept on his rights”).

Plaintiffs waited over six years after FDA denied their 2002 citizen petition, and

nearly a year after FDA denied their 2019 citizen petition, to file suit. They chose

not to seek to compel FDA to act sooner, see 5 U.S.C. § 706(1), or to otherwise

negotiate with FDA in the interim, cf. Optimus Steel, L.L.C. v. U.S. Army Corps of

Eng’rs, 492 F. Supp. 3d 701, 720 (E.D. Tex. 2020). Nor did they seek a temporary

restraining order. Most tellingly, Plaintiffs proposed a schedule that would have

delayed any ruling by several months, to allow the District Court to obtain the full

administrative record and issue a decision on the merits. ROA.3240-3252. Plaintiffs

cannot now claim that they will suffer irreparable injury if a drug that has been on

the market for nearly 23 years remains on the market while the District Court does

exactly that.




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                              CONCLUSION

      For the foregoing reasons, the Court should vacate the District Court’s

decision.

                                         Respectfully submitted,

                                         /s/ Jessica L. Ellsworth
                                         JESSICA L. ELLSWORTH
                                         CATHERINE E. STETSON
                                         KAITLYN A. GOLDEN
                                         DANIELLE DESAULNIERS STEMPEL
                                         MARLAN GOLDEN
                                         DELIA SCOVILLE
                                         HOGAN LOVELLS US LLP
                                         555 Thirteenth Street, N.W.
                                         Washington, D.C. 20004
                                         (202) 637-5600
                                         jessica.ellsworth@hoganlovells.com

                                         PHILIP KATZ
                                         LYNN W. MEHLER
                                         HOGAN LOVELLS US LLP
                                         555 Thirteenth Street, N.W.
                                         Washington, D.C. 20004

                                         EVA M. SCHIFINI
                                         HOGAN LOVELLS US LLP
                                         1999 Avenue of the Stars
                                         Suite 1400
                                         Los Angeles, CA 90067

                                         Counsel for Intervenor-Appellant




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                         CERTIFICATE OF SERVICE

      I hereby certify that, on April 26, 2023, I electronically filed the foregoing

with the Clerk of Court by using the appellate CM/ECF system. I further certify that

the participants in the case are CM/ECF users and that service will be accomplished

by using the appellate CM/ECF system.


                                          /s/ Jessica L. Ellsworth
                                          Jessica L. Ellsworth

                                          Counsel for Intervenor-Appellant
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                      CERTIFICATE OF COMPLIANCE

      1.    This brief complies with the type-volume limitations of Federal Rule of

Appellate Procedure 32(a)(7)(B), because it contains 12,985 words, excluding the

parts of the brief exempted by Federal Rule of Appellate Procedure 32(f).

      2.    This brief complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word for Office 365 in Times New Roman 14-point font.

                                         /s/ Jessica L. Ellsworth
                                         Jessica L. Ellsworth

                                         Counsel for Intervenor-Appellant
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                        ADDENDUM
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                                 21 U.S.C. § 355

§ 355. New drugs

                                       ***

   (c) Period for approval of application; period for, notice, and expedition of
hearing; period for issuance of order

   (1) Within one hundred and eighty days after the filing of an application under
subsection (b), or such additional period as may be agreed upon by the Secretary
and the applicant, the Secretary shall either—
      (A) approve the application if he then finds that none of the grounds for
      denying approval specified in subjection (d) applies, or

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                                   21 U.S.C. § 355

§ 355. New drugs

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   (d) Grounds for refusing application; approval of application; “substantial
evidence” defined

    If the Secretary finds, after due notice to the applicant in accordance with
subsection (c) and giving him an opportunity for a hearing, in accordance with said
subsection, that (1) the investigations, reports of which are required to be
submitted to the Secretary pursuant to subsection (b), do not include adequate tests
by all methods reasonably applicable to show whether or not such drug is safe for
use under the conditions prescribed, recommended, or suggested in the proposed
labeling thereof; (2) the results of such tests show that such drug is unsafe for use
under such conditions or do not show that such drug is safe for use under such
conditions; (3) the methods used in, and the facilities and controls used for, the
manufacture, processing, and packing of such drug are inadequate to preserve its
identity, strength, quality, and purity; (4) upon the basis of the information
submitted to him as part of the application, or upon the basis of any other
information before him with respect to such drug, he has insufficient information
to determine whether such drug is safe for use under such conditions; or
(5) evaluated on the basis of the information submitted to him as part of the
application and any other information before him with respect to such drug, there
is a lack of substantial evidence that the drug will have the effect it purports or is
represented to have under the conditions of use prescribed, recommended, or
suggested in the proposed labeling thereof; or (6) the application failed to contain
the patent information prescribed by subsection (b); or (7) based on a fair
evaluation of all material facts, such labeling is false or misleading in any
particular; he shall issue an order refusing to approve the application. If, after such
notice and opportunity for hearing, the Secretary finds that clauses (1) through
(6) do not apply, he shall issue an order approving the application. As used in this
subsection and subsection (e), the term “substantial evidence” means evidence
consisting of adequate and well-controlled investigations, including clinical
investigations, by experts qualified by scientific training and experience to evaluate
the effectiveness of the drug involved, on the basis of which it could fairly and
responsibly be concluded by such experts that the drug will have the effect it
purports or is represented to have under the conditions of use prescribed,
recommended, or suggested in the labeling or proposed labeling thereof. If the


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Secretary determines, based on relevant science, that data from one adequate and
well-controlled clinical investigation and confirmatory evidence (obtained prior to
or after such investigation) are sufficient to establish effectiveness, the Secretary
may consider such data and evidence to constitute substantial evidence for
purposes of the preceding sentence. The Secretary shall implement a structured
risk-benefit assessment framework in the new drug approval process to facilitate
the balanced consideration of benefits and risks, a consistent and systematic
approach to the discussion and regulatory decisionmaking, and the communication
of the benefits and risks of new drugs. Nothing in the preceding sentence shall alter
the criteria for evaluating an application for marking approval of a drug.

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                                  21 U.S.C. § 355

§ 355. New drugs

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  (e) Withdrawal of approval; grounds; immediate suspension upon finding
imminent hazard to public health

    The Secretary shall, after due notice and opportunity for hearing to the
applicant, withdraw approval of an application with respect to any drug under this
section if the Secretary finds (1) that clinical or other experience, tests, or other
scientific data show that such drug is unsafe for use under the conditions of use
upon the basis of which the application was approved; (2) that new evidence of
clinical experience, not contained in such application or not available to the
Secretary until after such application was approved, or tests by new methods, or
tests by methods not deemed reasonably applicable when such application was
approved, evaluated together with the evidence available to the Secretary when the
application was approved, shows that such drug is not shown to be safe for use
under the conditions of use upon the basis of which the application was approved;
or (3) on the basis of new information before him with respect to such drug,
evaluated together with the evidence available to him when the application was
approved, that there is a lack of substantial evidence that the drug will have the
effect it purports or is represented to have under the conditions of use prescribed,
recommended, or suggested in the labeling thereof; or (4) the patent information
prescribed by subsection (c) was not filed within thirty days after the receipt of
written notice from the Secretary specifying the failure to file such information; or
(5) that the application contains any untrue statement of a material fact: Provided,
That if the Secretary (or in his absence the officer acting as Secretary) finds that
there is an imminent hazard to the public health, he may suspend the approval of
such application immediately, and give the applicant prompt notice of his action
and afford the applicant the opportunity for an expedited hearing under this
subsection; but the authority conferred by this proviso to suspend the approval of
an application shall not be delegated. The Secretary may also, after due notice and
opportunity for hearing to the applicant, withdraw the approval of an application
submitted under subsection (b) or (j) with respect to any drug under this section if
the Secretary finds (1) that the applicant has failed to establish a system for
maintaining required records, or has repeatedly or deliberately failed to maintain
such records or to make required reports, in accordance with a regulation or order
under subsection (k) or to comply with the notice requirements of section


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360(k)(2) of this title, or the applicant has refused to permit access to, or copying
or verification of, such records as required by paragraph (2) of such subsection; or
(2) that on the basis of new information before him, evaluated together with the
evidence before him when the application was approved, the methods used in, or
the facilities and controls used for, the manufacture, processing, and packing of
such drug are inadequate to assure and preserve its identity, strength, quality, and
purity and were not made adequate within a reasonable time after receipt of written
notice from the Secretary specifying the matter complained of; or (3) that on the
basis of new information before him, evaluated together with the evidence before
him when the application was approved, the labeling of such drug, based on a fair
evaluation of all material facts, is false or misleading in any particular and was not
corrected within a reasonable time after receipt of written notice from the Secretary
specifying the matter complained of. Any order under this subsection shall state the
findings upon which it is based. The Secretary may withdraw the approval of an
application submitted under this section, or suspend the approval of such an
application, as provided under this subsection, without first ordering the applicant
to submit an assessment of the approved risk evaluation and mitigation strategy for
the drug under section 355-1(g)(2)(D) of this title.

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                                 21 U.S.C. § 355-1

§ 355-1. Risk evaluation and mitigation strategies

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   (a) Submission of proposed strategy

      (1) Initial Approval

    If the Secretary, in consultation with the office responsible for reviewing the
drug and the office responsible for postapproval safety with respect to the drug,
determines that a risk evaluation and mitigation strategy is necessary to ensure that
the benefits of the drug outweigh the risks of the drug, and informs the person who
submits such application of such determination, then such person shall submit to
the Secretary as part of such application a proposed risk evaluation and mitigation
strategy. In making such a determination, the Secretary shall consider the
following factors:
    (A) The estimated size of the population likely to use the drug involved.
    (B) The seriousness of the disease or condition that is to be treated with the
    drug.
    (C) The expected benefit of the drug with respect to such disease or condition.
    (D) The expected or actual duration of treatment with the drug.
    (E) The seriousness of any known or potential adverse events that may be
    related to the drug and the background incidence of such events in the
    population likely to use the drug.
    (F) Whether the drug is a new molecular entity.

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                                 21 U.S.C. § 355-1

§ 355-1. Risk evaluation and mitigation strategies

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  (f) Providing safe access for patients to drugs with known serious risks that
would otherwise be unavailable

      (2) Assuring access and minimizing burden

   Such elements to assure safe use under paragraph (1) shall—
      (A) be commensurate with the specific serious risk listed in the labeling of
      the drug;
      (B) within 30 days of the date on which any element under paragraph (1) is
      imposed, be posted publicly by the Secretary with an explanation of how
      such elements will mitigate the observed safety risk;
      (C) considering such risk, not be unduly burdensome on patient access to the
      drug, considering in particular—
             (i) patients with serious or life-threatening diseases or conditions;
             (ii) patients who have difficulty accessing health care (such as patients
             in rural or medically underserved areas); and
             (iii) patients with functional limitations; and
      (D) to the extent practicable, so as to minimize the burden on the health care
      delivery system—
             (i) conform with elements to assure safe use for other drugs with
             similar, serious risks; and
             (ii) be designed to be compatible with established distribution,
             procurement, and dispensing systems for drugs.

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                                 21 U.S.C. § 355-1

§ 355-1. Risk evaluation and mitigation strategies

                                       ***

   (g) Assessment and modification of approved strategy

      (4) Modification

             (A) On initiative of responsible person

   After the approval of a risk evaluation and mitigation strategy by the Secretary,
the responsible person may, at any time, submit to the Secretary a proposal to
modify the approved strategy. Such proposal may propose the addition,
modification, or removal of any goal or element of the approved strategy and shall
include an adequate rationale to support such proposed addition, modification, or
removal of any goal or element of the strategy.

             (B) On initiative of Secretary

   After the approval of a risk evaluation and mitigation strategy by the Secretary,
the Secretary may, at any time, require a responsible person to submit a proposed
modification to the strategy within 120 days or within such reasonable time as the
Secretary specifies, if the Secretary, in consultation with the offices described in
subsection (c)(2), determines that 1 or more goals or elements should be added,
modified, or removed from the approved strategy to—
   (i) ensure the benefits of the drug outweigh the risks of the drug;
   (ii) minimize the burden on the health care delivery system of complying with
   the strategy; or
   (iii) accommodate different, comparable aspects of the elements to assure safe
   use for a drug that is the subject of an application under section 355(j) of this
   title, and the applicable listed drug.

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   Food and Drug Admin. Amends. Act of 2007: Pub. L. No. 110-85, tit. IX

§ 909. EFFECTIVE DATE AND APPLICABILITY.

                                         ***

   (b) DRUGS DEEMED TO HAVE RISK EVALUATION AND MITIGATION STRATEGIES.—

       (1) IN GENERAL.—A drug that was approved before the effective date of this
Act is, in accord`ance with paragraph (2), deemed to have in effect an approved
risk evaluation and mitigation strategy under section 505–1 of the Federal Food,
Drug, and Cosmetic Act (as added by section 901) (referred to in this section as the
“Act”) if there are in effect on the effective date of this Act elements to assure safe
use—
       (A) required under section 314.520 or section 601.42 of title 21, Code of
       Federal Regulations; or
       (B) otherwise agreed to by the applicant and the Secretary for such drug.

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   Food and Drug Admin. Amends. Act of 2007: Pub. L. No. 110-85, tit. IX

§ 909. EFFECTIVE DATE AND APPLICABILITY.

                                        ***

   (b) DRUGS DEEMED TO HAVE RISK EVALUATION AND MITIGATION STRATEGIES.—

       (3) SUBMISSION.—Not later than 180 days after the effective date of this Act,
the holder of an approved application for which a risk evaluation and mitigation
strategy is deemed to be in effect under paragraph (1) shall submit to the Secretary
a proposed risk evaluation and mitigation strategy. Such proposed strategy is
subject to section 505–1 of the Act as if included in such application at the time of
submission of the application to the Secretary.

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